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				REVOCATION OF CERTIFICATES OF CERTIFIED SHORTHAND REPORTERS2016 OK 49Decided: 05/02/2016THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2016 OK 49, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION. 

ORDER
On February 15, 2016, this Court suspended the certificates of several certified shorthand reporters for failure to comply with the continuing education requirements for calendar year 2015 and/or with the annual certificate renewal requirements for 2016. See 2016 OK 21 (SCAD 2016-13). 
The Oklahoma Board of Examiners of Certified Shorthand Reporters has advised that the court reporters listed below continue to be delinquent in complying with the continuing education and/or annual certificate renewal requirements, and the Board has recommended to the Supreme Court of the State of Oklahoma the revocation of the certificate of each of these reporters, effective April 15, 2016, pursuant to 20 O.S., Chapter 20, App. 1, Rules 20 and 23.
IT IS THEREFORE ORDERED that the certificate of each of the certified shorthand reporters named below is hereby revoked effective April 15, 2016.




Christina Ogle



CSR # 1088




Norma Rico



CSR # 1992




Lisa Stockwell



CSR # 1969




Nikki Tate



CSR # 1608




Amy Taylor



CSR # 1993



DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 2nd day of MAY, 2016.
/S/CHIEF JUSTICE
ALL JUSTICES CONCUR.




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